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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

     MAINE COMMUNITY HEALTH                       )
             OPTIONS,                             )
                                                  )                  No. 17-2057C
                      Plaintiff,                  )              (Chief Judge Sweeney)
                                                  )
                          v.                      )
                                                  )
          THE UNITED STATES,                      )
                                                  )
                     Defendant.                   )

                                     NOTICE OF APPEAL

       Notice is hereby given that the United States appeals to the United States Court of

Appeals for the Federal Circuit from the judgment entered in this case on June 11, 2019.

                                               Respectfully submitted,

                                               JOSEPH H. HUNT
                                               Assistant Attorney General

                                               ROBERT E. KIRSCHMAN, JR.
                                               Director



                                               s/Claudia Burke
                                               CLAUDIA BURKE
                                               Assistant Director
        Case 1:17-cv-02057-MMS Document 37 Filed 07/02/19 Page 2 of 2




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July 2, 2019




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